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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

JILL BABCOCK, et al.,

                                                                 Civil Case No. 22-cv-12951
        Plaintiffs,

vs.                                                              HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF,

      Defendants.
__________________________

                      ORDER REGARDING MOTION TO DISMISS (Dkt. 29)

        The Court has reviewed Defendant State of Michigan’s pending motion to dismiss (Dkt.

29). In the motion, Defendant argues, in part, that the complaint does not plead sufficiently

detailed or specific factual allegations and is, therefore, defective for failing to articulate a plausible

claim, as required by the Supreme Court’s decision in Ashcroft v. Iqbal, 556 U.S. 662 (2009).

        To promote judicial economy and “the just, speedy, and inexpensive determination” of the

action, Fed. R. Civ. P. 1, the Court advises the parties of its view that a party whose pleading faces

a motion to dismiss should assess whether alleged deficiencies may be cured by an amended

pleading, so that the Court and the parties are not required to address the sufficiency of a pleading

more than once. The parties are further advised that if a party does not currently utilize the

opportunity to amend and instead opposes the motion to dismiss, the Court will take that fact into

account should the motion to dismiss be granted and the opposing party then file a motion for leave

to amend.

        Accordingly, Plaintiffs may file an amended complaint within 21 days from the filing of

the motion to dismiss, either as of right pursuant to Fed. R. Civ. P. 15(a)(1)(B), or pursuant to

leave now granted, if the prerequisites of Fed. R. Civ. P. 15(a)(1)(B) have not been met. If

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Plaintiffs timely files an amended complaint, the Court will deny without prejudice the currently

pending motion to dismiss as moot. If Plaintiffs does not timely file an amended complaint,

Plaintiffs shall file a response to the motion in accordance with the time limits set forth in the local

rules, and the Court will decide the motion.

       SO ORDERED.


Dated: March 16, 2023                                  s/Mark A. Goldsmith
       Detroit, Michigan                               MARK A. GOLDSMITH
                                                       United States District Judge




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